                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - FLINT

IN RE:

         PAULINE MUDGE,                                       Case No. 11-31699-dof
                                                              Chapter 7 Proceeding
            Debtor.                                           Hon. Daniel S. Opperman
_____________________________________/

               OPINION REGARDING APPLICATION FOR COMPENSATION
             OF SPECIAL COUNSEL, C. DANIEL HARRY & ASSOCIATES PLLC

         C. Daniel Harry & Associates PLLC (“Harry”) seeks attorney fees from the bankruptcy

estate, as well as the imposition and enforcement of a lien on proceeds to be received by the Debtor

which the Debtor exempted. The Chapter 7 Trustee, Samuel Sweet, objects to this request.

                                       Introduction and Facts

         The Debtor suffered a fire loss at her home located at 1729 New York Avenue, Flint,

Michigan. The Debtor originally retained Jo Robin Davis to investigate this incident and initiate

a lawsuit, if necessary. Being dissatisfied with her attorney’s responsiveness, the Debtor, as well

as her nephew, Brian Sanderson, retained Harry to continue the investigation and file a lawsuit, if

necessary. Harry signed a retainer agreement with the Debtor and Mr. Sanderson allowing him a

rate of $300.00 per hour for his services rendered in this matter. Neither Harry or Trustee Sweet

have a copy of this agreement.

         The Debtor filed a Chapter 7 petition with this Court on April 4, 2011, and did not list the

proceeds from the fire loss or any potential lawsuit that she may have. Likewise, the Debtor did not

exempt the proceeds from the fire loss or any potential lawsuit.

         Trustee Sweet conducted a first meeting of creditors and filed a Report of No Distribution


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with this Court on May 12, 2011, and May 13, 2011, respectively. The case was subsequently

closed, but then reopened on August 17, 2011, because Trustee Sweet discovered the fire loss

incurred by the Debtor and the potential for recovery from that loss. On June 18, 2012, Trustee

Sweet filed an Application to Employ Harry as Special Counsel because Harry had filed a lawsuit

against the Debtor’s insurance company for the fire loss.

       Pertinent parts of the Application filed with the Court are:

               5.     C. Daniel Harry has advised the Trustee that he is willing to represent
       the estate on a contingency fee basis of 1/3 attorney fee of any recovery after
       expenses are deducted. . .

       ...

              7.      Upon information and belief, other than as disclosed, C. Daniel Harry
       does not hold or represent any interest adverse to the Trustee in the matters upon
       which he is to be engaged and his employment would be in the best interest of the
       Debtor’s estate and he is a disinterested persons as defined by 11 U.S.C. § 101(14).

               8.     Mr. Harry is aware of the provisions of 11 U.S.C. § 328(a) and has
       agreed, notwithstanding the terms and conditions of employment set forth herein,
       that the Court may allow compensation different from the compensation provided
       herein if such terms and conditions prove to have been improvident in light of
       developments unanticipated at the time of the fixing of such terms and conditions.

               9.     Upon information and belief, other than as disclosed, C. Daniel Harry
       has no connection with the Debtor, the creditors, or any party in interest or their
       respective attorneys and accountants, the United States Trustee, or any person
       employed in the office of the United States Trustee, which should disqualify him
       from representing the estate as evidenced by the Affidavit of Disinterestedness
       submitted herewith.

       Additionally, the Affidavit of Disinterestedness of Harry states the following:

               Samuel D. Sweet, in his capacity as Trustee of this bankruptcy estate, has
       requested that C. Daniel Harry act as his special counsel in this matter. Applicant
       agrees to limit his compensation to the appropriate one-third contingency fee of all
       sums recovered after costs are deducted.

              Any direct out-of-pocket costs will be charged to the estate. Copies will be
       charged at $.20 per page, facsimile transmission either to or from the firm at $.50 per
       page. The firm will not be paid any fees or costs without prior Court’s approval, as


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        required by 11 U.S.C. § 331.

              C. Daniel Harry has read the Trustee’s Application and agrees to accept said
        employment on the terms and conditions contained therein.

        On June 11, 2012, however, Harry wrote the following letter to counsel for Trustee Sweet:

        Enclosed please find the original Affidavit signed by me for filing with the Petition.
        For the record, I have already been retained by the insured/debtor to handle this
        matter on an hourly basis. Ms. Mudge will ultimately decide if it is worthwile [sic]
        to simply pay off the unsecured creditors with any proceeds she may receive.

        Harry continued the state court lawsuit and apparently received $9,851.50 from Mr.

Sanderson. Harry claims Mr. Sanderson still owes approximately $20,829.50.

        The defendant in the state court lawsuit filed a motion for summary disposition that required

substantial effort by Harry to defend successfully. At this time, Mr. Sanderson stopped paying

Harry and Harry advised Trustee Sweet that he could no longer continue this lawsuit because he had

a conflict. Trustee Sweet agreed with Harry that a conflict existed, but for different reasons.

        Harry was allowed to withdraw and obtained an order from the Genesee County Circuit

Court granting an attorney’s lien in the amount of $20,829.50 as to sums received by the Debtor,

Pauline Mudge. The Genesee County Circuit Court order also stated that no lien would attach to

the proceeds paid or payable to the Chapter 7 Trustee.

        Subsequently, the lawsuit settled for $30,000.00 which settlement this Court approved on

July 1, 2013.


                                            Jurisdiction

        This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157, 28 U.S.C. § 1334,

and E.D. Mich. LR 83.50. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) (matters

concerning the administration of the estate), as well as (B) (allowance or disallowance of claims

against the estate.)


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                                       Applicable Authorities

11 U.S.C. § 327 states:

                (a) Except as otherwise provided in this section, the trustee, with the court’s
       approval, may employ one or more attorneys, accountants, appraisers, auctioneers,
       or other professional persons, that do not hold or represent an interest adverse to the
       estate, and that are disinterested persons, to represent or assist the trustee in carrying
       out the trustee’s duties under this title.

       ...

               (e) The trustee, with the court’s approval, may employ, for a specified special
       purpose, other than to represent the trustee in conducting the case, an attorney that
       has represented the debtor, if in the best interest of the estate, and if such attorney
       does not represent or hold any interest adverse to the debtor or to the estate with
       respect to the matter on which such attorney is to be employed.

11 U.S.C. § 328 states:

               (a) The trustee, or a committee appointed under section 1102 of this title, with
       the court’s approval, may employ or authorize the employment of a professional
       person under section 327 or 1103 of this title, as the case may be, on any reasonable
       terms and conditions of employment, including on a retainer, on an hourly basis, on
       a fixed or percentage fee basis, or on a contingent fee basis. Notwithstanding such
       terms and conditions, the court may allow compensation different from the
       compensation provided under such terms and conditions after the conclusion of such
       employment, if such terms and conditions prove to have been improvident in light
       of developments not capable of being anticipated at the time of the fixing of such
       terms and conditions.

       ...

                (c) Except as provided in section 327(c), 327(e), or 1107(b) of this title, the
       court may deny allowance of compensation for services and reimbursement of
       expenses of a professional person employed under section 327 or 1103 of this title
       if, at any time during such professional person’s employment under section 327 or
       1103 of this title, such professional person is not a disinterested person, or represents
       or holds an interest adverse to the interest of the estate with respect to the matter on
       which such professional person is employed.

                                               Analysis

       This case requires the Court to address the fundamental issue of the eligibility of a

professional to receive money from the bankruptcy estate when that professional may have a


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conflict. This Court receives requests from Chapter 7 trustees and Chapter 13 trustees to appoint

counsel to handle a variety of non-bankruptcy law claims. In virtually all of these cases, the

proposed counsel has worked on the case previously and often has a retainer agreement with the

debtor. While not ideal, in those cases, the trustee elects to take the practical route of retaining

existing counsel, but making it clear to that counsel that the bankruptcy court must approve any

settlement and any fees paid to counsel. In the vast majority of the cases, no problem arises because

of this and counsel, the bankruptcy estate, and the debtor often receive money as a result of this

arrangement.

       In this case, there was a breakdown in this communication. A review of the Application to

Employ Harry would lead one to think that Harry only agreed to accept the traditional one-third

contingency fee after payment of expenses. The Affidavit of Harry also sets forth that Harry

represented the Debtor previously, but that this posed no problem for Harry to represent Trustee

Sweet in this case.

       In contrast, however, Harry’s June 11, 2012, letter to Trustee Sweet’s counsel references

being retained by the insured/debtor to handle the matter on an hourly basis and further states that

the Debtor may decide if it is worthwhile to simply pay the unsecured creditors with any proceeds

she may receive. This is in direct contradiction to the Application filed with this Court, the

Bankruptcy Code, and the practices of this Court. Had this Court been advised that Harry had a

separate retainer agreement with the Debtor or Mr. Sanderson, it would not have approved the

Application to Employ Harry. Had the proper disclosures been made, neither Trustee Sweet or

Harry would find themselves in the position that each is in today.

       The record developed at the August 7, 2013, hearing is that Harry received the $9,851.50

from Mr. Sanderson. Trustee Sweet’s counsel was satisfied that this money was given to Harry by



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Mr. Sanderson and not the Debtor and, as such, this Court lacks the jurisdiction to order Harry to

disgorge that money to the estate. The Court will not award any money to Harry because both 11

U.S.C. §§ 327 and 328 were violated. Moreover, Federal Rule of Bankruptcy Procedure 2016 was

not followed. Even if this Court were inclined to award Harry fees and expenses, the original

agreement which this Court thought it had approved was that Harry would receive expenses and then

a one-third contingency fee on the remaining funds. Here, the estate received $30,000.00 and

incurred some expenses. Although not mathematically complete or accurate, the $9,851.50 that

Harry received is approximately the same as the amount that would have received had the original

transaction as contemplated by the Court been completed without incident. To the extent that any

difference exists that is to the detriment of Harry, the Court finds that the failure of Harry to comply

with 11 U.S.C. §§ 327 and 328, as well as Federal Rule of Bankruptcy Procedure 2016, warrant such

a reduction in fees and expenses awarded to Harry.

       Harry also requests this Court enforce the lien created by the Genesee County Circuit Court.

This Court declines to do so because Harry has not complied with 11 U.S.C. §§ 327 and 328, as well

as Federal Rule of Bankruptcy Procedure 2016. The Court also concludes that Harry is not entitled

to any other compensation other than the money he has already received.

       For these reasons, the Application for Compensation of Special Counsel, C. Daniel Harry

& Associates PLLC, is denied. The Court will enter an order consistent with this Opinion.

Not for Publication
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Signed on August 23, 2013
                                                           /s/ Daniel S. Opperman
                                                         Daniel S. Opperman
                                                         United States Bankruptcy Judge




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